                      Case: 4:14-cr-00152-RWS
AO 24 58 (Rev. 11 / 16)
                                                               Doc. #: 794 Filed: 04/12/17                  Page: 1 of 8 PageID #:
                                                                         3285
   Sheet I - Judgment in a Crimina l Case



                                        United States District Court
                                                             Eastern District of Missouri
                           UNITED STATES OF AMERICA
                                            v.                                 JUDGMENT IN A CRIMINAL CASE
                          ROBERT JAYNES, JR.
                                                                              CASE NUMBER: 4:14CR152 RWS
                                                                                                    ------------~


                                                                                 USM Number: 12376-028
                                                                                                    --------------
   THE DEFENDANT:                                                                Nanci McCarthy
                                                                                 Defendant's Attorney
    ~ pleaded guilty to count(s)                 one and two ofa four-count Indictment on March 29, 2016.
    D which
      pleaded nolo contendere to count(s)
            was accepted by the court.    --------------------------------

   0 was  found guilty on count(s)
     after a plea of not guilty
  The defendant is adjudicated guilty of these offenses :
                                                                                                                Date Offense   Count
 Title & Section                                      Nature of Offense                                         Concluded    Number(s)
2 1 U.S.C. § 84 6,
21 U.S.C. § 84 l (a)( I),
                                                   Conspiracy to Distribute Controlled Substances and         October 2013         One
21 U.S.C. § 841 (b)( l )(C), and                   Controlled Substance Analogues
2 1U.S.C. § 81 3

18 U.S .C. § 371                                   Conspiracy to Commit Offenses Against United States        October 2013         Two




       The defendant is sentenced as provided in pages 2 through                    7   of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.

  D The defendant has been found not guilty on count(s)
  D Count(s) - - - - - - - - - - - - - - -                                        dismissed on the motion of the United States.

 It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence, or
 mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
 restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.


                                                                                  April 11 , 2017
                                                                                  Date of Imposition of Judgment




                                                                                  RODNEY W. SIPPEL
                                                                                   UNITED STATES DISTRICT JUDGE
                                                                                 Name & Title of Judge


                                                                                  April 11 , 2017
                                                                                 Date signed

    Record No. : 125
                      Case:Judgment
AO 245 8 (Rev . 11 / 16)     4:14-cr-00152-RWS
                                    in Criminal Case Sheet 2Doc.    #: 794 Filed: 04/12/17
                                                             - Imprisonment                       Page: 2 of 8 PageID #:
                                                                            3286
                                                                                                          Judgment-Page _2_      of   _7__
   DEFENDANT : ROBERT JAYNES, JR.
  CASE NUMBER : 4:14CRl52 RWS
                           ~~~~~~~~~~~~~




  District:         Eastern District of Missouri
                                                          IMPRISONMENT
   The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of 138 MONTHS


   This term consists of a term of 138 months on Count 1 and 60 months on Count 2, all such terms to be served
   concurrently.




   ~       The court makes the following recommendations to the Bureau of Prisons :

   While in the custody of the Bureau of Prisons, it is recommended the defendant be evaluated for participation in an
   Occupationa l/Educational program , specifically, in theology . It is further recommended defendant be designated as close to the
   Indianapolis, Indiana area as possible. Such recommendations are made to the extent they are consistent with the Bureau of Prisons
   policies.


   ~       The defendant is remanded to the custody of the United States Marshal.


   D The defendant shall surrender to the United States Marshal for this district :
     D at                       a.m ./pm on
     D as notified by the United States Marshal.
   D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
     D before 2 p.m . on
     D as notified by the United States Marshal
     D as notified by the Probation or Pretrial Services Office




                                      MARSHALS RETURN MADE ON SEPARATE PAGE
                  Case:
 AO 2458 (Rev 11/16)
                         4:14-cr-00152-RWSSheet J -Doc.
                     Judgment in Criminal Case
                                                             #: 794 Filed: 04/12/17
                                                   Supervised Release
                                                                                                        Page: 3 of 8 PageID #:
                                                                      3287
                                                                                                                 Judg ment-Page   _3_ of _7__
     DEFENDANT : ROBERT JAYNES, JR.
     CASE NUMBER : 4:14CR152 RWS
     District:   Eastern District of Missouri


                                                        SUPERVISED RELEASE
          Upon release from imprisonment, the defendant shall be on supervised release for a term of THREE YEARS

     This tenn consists ofa tenn of three years on each of Counts 1and2, all such tenns to run concurrently.




                                                       MANDATORY CONDITIONS
1.     You must not commit another federal , state or local crime.
2.     You must not unlawfully possess a controlled substance.
3.     You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days ofrelease from
       imprisonment and at least two periodic drug tests thereafter, as detennined by the court.
                 ~     The above drug testing condition is suspended, based on the court's detennination that you
                       pose a low risk of future substance abuse. (check if applicable)

4.          ~    You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)


5.          O    You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S .C. § 16901,
                 et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in
                 the location where you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)

6.          O    You must participate in an approved program for domestic violence. (check if applicable)


You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached page.
                   Case:
 AO 2458 (Rev. 11 /16)
                          4:14-cr-00152-RWS
                      Judgment in Criminal Case         Doc. #: 794 Filed: 04/12/17
                                                Sheet 3A - Supervised Release
                                                                                                         Page: 4 of 8 PageID #:
                                                                              3288
                                                                                                                                  4_ of _7__
                                                                                                                   Judgment-Page __

     DEFENDANT : ROBERT JAYNES, JR.
     CASE NUMBER: 4:14CR152 RWS
                         ~~~~~~~~~~~~~~




     District: Eastern District of Missouri


                                        STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition .

I.     You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your release
       from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time frame .
2.     After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
3.     You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
       court or the probation officer.
4.     You must answer truthfully the questions asked by your probation officer.
5.     You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least I 0 days before the change. If notifying the
       probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
       becoming aware of a change or expected change.
6.     You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to take
       any items prohibited by the conditions of your supervision that he or she observes in plain view .
7.     You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from doing
       so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses you from
       doing so. If you plan to change where you work or anything about your work (such as your position or your job responsibilities), you must
       notify the probation officer at least I 0 days before the change. If notifying the probation officer at least 10 days in advance is not possible
       due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
       change.
8.     You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been convicted
       of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the probation officer.
9.     If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
I 0. You must not own , possess, or have access to a firearm, ammunition , destructive device, or dangerous weapon (i.e., anything that was
     designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11 . You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without first
     getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may require you
    to notify the person about the risk and you must comply with that instruction. The probation officer may contact the person and confirm
    that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision .



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this judgment
containing these conditions . For further information regarding these conditions, see Overview of Probation and Supervised Release Conditions,
available at: www.uscourts .gov.



Defendant's Signature                                                                                       Date
                   Case: 4:14-cr-00152-RWS Sheet Doc.       #: 794 Filed: 04/12/17
                                                  JB - Supervised Release
                                                                                                    Page: 5 of 8 PageID #:
AO 2458 (Rev. 11 / 16)  Judgment in Criminal Case
                                                                        3289
                                                                                                              Judgment-Page _5_ of _7__

   DEFENDANT : ROBERT JAYNES, JR.
   CASE NUMBER : 4: 14CRl52 RWS
                         ~~~~~~~~~~~~~-




  District:       Eastern District of Missouri
                                      ADDITIONAL SUPERVISED RELEASE TERMS
   While on supervision, the defendant shall comply with the standard conditions that have been adopted by this Court and shall comply with
   the following additional conditions. If it is determined there are costs associated with any services provided, the defendant shall pay those
   costs based on a co-payment fee established by the probation office.
  You must submit your person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. § 1030(e)(l)), other
  electronic communications or data storage devices or media, or office, to a search conducted by a United States probation officer. You
  must warn any other occupants that the premises may be subject to searches pursuant to this condition. The probation officer may conduct
  a search under this condition only when reasonable suspicion exists that you have violated a condition of supervision and that the areas to
  be searched contain evidence of this violation. Any search must be conducted at a reasonable time and in a reasonable manner.
                  Case:
AO 2458 (Rev. 11/16)
                         4:14-cr-00152-RWS
                     Judgment in Criminal Case
                                                         Doc. #: 794 Filed: 04/12/17                    Page: 6 of 8 PageID #:
                                                 Sheet 5 - Criminal Monetary Penalties
                                                                   3290
                                                                                                                 Jud g m e nt-P age   6     of _7__

 DEFENDANT : ROBERT JAYNES, JR.
 CASE NUMBER : 4:14CR152 RWS
 District: Eastern District of Missouri
                                          CRIMINAL MONETARY PENALTIES
 The defendant must pay the total criminal monetary penalties under the schedule of payments on sheet 6
                              Assessment              JVT A Assessment*                   Fine                                Restitution


       Totals:               $200.00


 D The  determination of restitution is deferred until _ _ _ _ _ . An Amended Judgment in a Criminal Case (AO 245C)
   will be entered after such a determination .



  D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
 If the defendant makes a partial payment, each payee shall receive an approximately proportional payment unless specified
 otherwise in the priority order or percentage payment column below. However, pursuant ot 18 U.S.C. 3664(i), all nonfederal
 victims must be paid before the United States is paid.

 Name of Payee                                                                           Total Loss*   Restitution Ordered Priority or Percentage




 D Restitution amount ordered pursuant to plea agreement


 D The. defi.e ndant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
   before the fifteenth day after the date of the judgment, pursuant to 18 U .S.C. § 36 l 2(f). All of the payment options on
       Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C . § 36 l 2(g).

 D The court determined that the defendant does not have the ability to pay intere st and it is ordered that :
    D The interest requirement is waived for the . 0 fine                     D restitution .
    D The interest requirement for the O fine 0 restitution is modified as follows :


* Justice for Victims of Traffickin g Act of 2015 , Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters I 09A , 110, 11 OA , and I l 3A of Title 18 for offenses committed on or
after September 13 , 1994 but before April 23 , 1996.
                   Case:
AO 2458 (Rev. 11 / 16)     4:14-cr-00152-RWS
                       Judgment in Criminal Case Sheet 6 - Doc. #: of794
                                                           Schedule          Filed: 04/12/17
                                                                      Pay ments                        Page: 7 of 8 PageID #:
                                                                       3291
                                                                                                                  Judgment-Page   _7_ of _7__
 DEFENDANT : ROBERT JAYNES, JR.
 CASE NUMBER: 4:14CRl52 RWS
 District:    Eastern District of Missouri
                                                  SCHEDULE OF PAYMENTS
       Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

  A 181 Lump sum payment of _$_2_00_._00_ _ __ due immediately, balance due
                       D not later than                                , or

                       D in accordance with D C, D D, or D E below; or D F below; or
 B D Payment to begin immediately (may be combined with             D C, D D, or D E below; or D F below; or
 C D Payment in equal                 (e.g., equal, weekly, monthly, quarterly) installments of   over a period of

         - - - - - - e.g., months or years), to commence                               (e.g., 30 or 60 days) after the date of this judgment; or

 0    D Payment in equal                   (e .g., equal, weekly, monthly , quarterly) installm ents of                      over a period of
                           e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
       term of supervision; or
 E D      Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after Release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time: or
 F    D Special instructions regarding the payment of criminal monetary penalties:

  Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
  during the period of imprisonment. Al I criminal monetary penalty payments, except those payments made through the Bureau of Prisons'
  Inmate Financial Responsibility Program are made to the clerk of the court.

  The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.




  D Joint and Several
      Defendant and Co-defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
           and corresponding payee, if appropriate.




  D The defendant shall pay the cost of prosecution.
  D The defendant shall pay the following court cost(s):


  ~     The defendant shall forfeit the defendant's interest in the following property to the United States :

 The Defendant agrees to forfeit all of his right, title and interest to all items as set forth in the forfeiture allegation and plea agreement.




  Payments shall be applied in the following order: (I ) assessment; (2) restitution principal, (3) restitution interest, (4) fine principal,
  (5)fine interest (6) community restitution.(7) penalties, and (8) costs, including cost of prosecution and court costs.
        Case: 4:14-cr-00152-RWS             Doc. #: 794 Filed: 04/12/17         Page: 8 of 8 PageID #:
                                                      3292
                                                           DEFENDANT: ROBERT JAYNES, JR.
                                                           CASE NUMBER: 4:14CRJ52 RWS
                                                            USM Number:
                                                                             -----------
                                                                             12376-028

                                UNITED ST ATES MARSHAL
                         RETURN OF JUDGMENT IN A CRIMINAL CASE
I have executed this judgment as follows:




The Defendant was delivered on - - - - - - - - to - - - - - - - - - - - - - - - - - - -

at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.




                                                           UNITED ST ATES MARSHAL


                                                      By
                                                                Deputy U.S. Marshal




D      The Defendant was released on - - - - - - - to        -------~
                                                                                         Probation

D      The Defendant was released on _ _ _ _ _ _ _ to_ _ _ _ _ _ _ _ Supervised Release

D      and a Fine of- - - - - - - - D and Restitution in the amount of- - - - - - - - -



                                                           UNITED STATES MARSHAL


                                                      By
                                                                Deputy U.S. Marshal


I certify and Return that on _ _ _ _ _ _ _ , I took custody of - - - - - - - - - - - - - -

at                                  and delivered same t o - - - - - - - - - - - - - - - - -
     ----------~



on -------------~ F.F .T. - - - - - - - - - - - - - - - - - - -
                                                           U .S . MA RSH A L E/ MO


                                                        By DUSM _ _ _ _ _ _ __
